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                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE


  IN RE: SENSIPAR (CINACALCET                          C.A. No. 19-md-02895-LPS
  HYDROCHLORIDE TABLETS) ANTITRUST
  LITIGATION

  This Document Relates To:                            C.A. No. 19-369-LPS

  All Indirect Purchaser Actions                       C.A. No. 19-1461-LPS


  NOTICE OF SERVICE OF END-PAYOR PLAINTIFFS’ INITIAL DISCLOSURES
PURSUANT TO DISTRICT OF DELAWARE DEFAULT STANDARD PARAGRAPH 3

       Please take notice that on this 16th day of December, 2019, copies of End-Payor

Plaintiffs’ Initial Disclosures Pursuant to District of Delaware Default Standard Paragraph 3

were served upon the following counsel via email:

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Dated: December 16, 2019                   Respectfully submitted,


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